                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                               DOCKET NO. 3:97-CR-7-12-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )                    ORDER
 MICHAEL ORLANDO LOCKHART,                         )
                                                   )
                 Defendant.                        )
                                                   )

       Upon receipt of a letter from Defendant challenging the Court’s action on his motion for a

reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 706, the Court reaffirms

it decision to impose a reduced sentence of 170 months, which represents a 10 month reduction in

sentence for this Defendant, and which is 92 months less than the amended guideline range

applicable to this Defendant in consideration of the Defendant’s substantial assistance. This decision

was based on a comprehensive review of the record – which required weighing Defendant’s career

offender status and other offense characteristics, including his demonstrated propensity for

recidivism (Defendant committed the instant offense while on parole following a term of

imprisonment for another drug conviction), against the relatively good conduct and rehabilitative

potential he has displayed in prison, including his successful completion of the drug education

program and current placement in a federal prison work camp. Defendant’s court-appointed counsel

vigorously represented him in this matter, and the Court’s decision to reduce Defendant’s sentence

only by 10 months was not the result of any ineffective assistance of counsel but was based on the

settled legal principle that a decision to grant a sentence reduction which is authorized by a

retroactive amendment is discretionary and that retroactivity does not entitle a defendant to a reduced



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term of imprisonment as a matter of right. See U.S.S.G. § 1B1.10 (Background).

       In this case, the Court deemed it appropriate to give Defendant some benefit from

Amendment 706, but also felt it necessary to ensure that Defendant served a period of incarceration

adequate to achieve full rehabilitation and to promote respect for the law. The Court determined,

in its discretion, that a sentence of 170 months was adequate, but no greater than necessary, to

accomplish the sentencing objectives of 18 U.S.C. § 3553(a), while a further reduction would

frustrate those objectives. To the extent that Defendant's letter motion requests reconsideration of

this action, it is DENIED.

       The Clerk is directed to mail a copy of this Order and the Court’s prior Orders concerning

the § 3582 motion to the Defendant at the following address:

                                      Michael O. Lockhart
                                      Reg. No. 13020-058
                                      Hazelton FPC
                                      P.O. Box 2000
                                      Bruceton Mills, WV 26525-2000

       IT IS SO ORDERED.

                                                 Signed: October 7, 2008




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